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                                             U.S. Department of Justice

                                             Executive Office for United States Trustees

                                    Office of the General Counsel
______________________________________________________________________________
                                             441 G Street, NW, Suite 6150                 Voice - (202) 307-1399
                                             Washington, D.C. 20530                       Fax - (202) 307-2397




May 6, 2025

Via E-Mail

Timothy Karcher, Esq.
Nolan Goldberg, Esq.
PROSKAUER ROSE LLP
Eleven Times Square
New York, NY 10036
Email: tkarcher@proskauer.com
Email: ngoldberg@proskauer.com

Re:    Berkeley Research Group, LLC (“BRG “) Cybersecurity and Data Breach

Dear Messrs. Karcher and Goldberg:

         On April 28, 2025, multiple United States Trustees began receiving a BRG “Incident
Update” (not an “update” but the first notice) that alerted them for the first time that BRG had
suffered a cybersecurity incident and data breach discovered almost two months earlier, on March
2, that affected multiple chapter 11 cases (“affected cases”) and the security of data maintained by
BRG in its role as a financial advisor to official committees in those cases. Although such a large-
scale data breach would be of concern to the United States Trustee in any bankruptcy case, that the
breach occurred in archdiocesan and diocesan cases—where the claims information of sexual
abuse survivors is the most sensitive and confidential of all information—is very concerning.

       Based on the “Incident Updates” received thus far, the U.S. Trustee Program (“USTP”)
understands that BRG has filed the “Incident Update” in the following ten cases:




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USTP          District Case Name                     Case No. BRG retained by          Lead         Lead Debtor
Region/Office                                                                          Committee    Counsel
                                                                                       Counsel
02/Albany        NDNY The Roman Catholic Diocese      23-10244 Official Committee of   Stinson      Nolan Heller
                      of Albany, New York                      Tort Claimants                       Kauffman
02/Rochester     WDNY The Diocese of Rochester        19-20905 Official Committee Of   Pachulski    Bond, Schoeneck
                                                               Unsecured Creditors                  & King
02/Utica         NDNY    The Roman Catholic Diocese 23-60507 Official Committee Of     Pachulski    Bond, Schoeneck
                         of Ogdensburg, New York               Unsecured Creditors                  & King
04/Baltimore     DMD     Roman Catholic Archbishop of 23-16969 Official Committee Of   Stinson      Holland &
                         Baltimore                             Unsecured Creditors                  Knight
05/New           EDLA    The Archdiocese of New       20-10846 Official Committee Of   Pachulski    Jones Walker
Orleans                  Orleans                               Unsecured Creditors
15/San Diego     SDCA    The Roman Catholic Bishop of 24-02202 Official Committee Of   KTBS Law     Gordon Rees
                         San Diego                             Unsecured Creditors                  Scully
17/Oakland       NDCA    The Roman Catholic Bishop of 23-40523 Official Committee Of   Stinson      Foley & Lardner
                         Oakland                               Unsecured Creditors
17/Oakland       NDCA    The Franciscan Friars of     23-41723 Official Committee Of   Lowenstein   Binder, Malter,
                         California                            Unsecured Creditors     Sandler      Harris
17/San           NDCA    The Roman Catholic Bishop of 23-10113 Official Committee Of   Stinson      Felderstein et al.
Francisco                Santa Rosa                            Unsecured Creditors
17/San           NCDA    The Roman Catholic           23-30564 Official Committee Of   Pachulski    Felderstein et al.
Francisco                Archbishop of San Francisco           Unsecured Creditors

              From the USTP’s perspective, the “Incident Update” raised more questions than it
      answered about what transpired and what BRG has done and intends to do going forward to
      remediate the breach in each case. Moreover, the notice posted on BRG’s website differs
      substantially from the “Incident Update” and includes generic information reiterating rights that
      consumers already have with respect to, for example, obtaining one free credit report annually and
      filing complaints with state authorities, among others. In other words, BRG appears to believe it
      has no duties and no role other than to file a single generic notice on each affected case docket—
      without contacting potentially affected parties individually until it later concludes its
      investigation—and to post a generic notice, without any case references, on its website with
      generally available consumer remedies. Based on the information currently available to the USTP,
      these actions appear wholly deficient and inconsistent with BRG’s fiduciary duties as estate-
      compensated professionals.

              Accordingly, the USTP asks that BRG address in writing the preliminary questions below
      by May 23, without prejudice to the USTP’s right to seek further information or remedies
      thereafter.

             •   Case name, number, and district of each known affected case.
             •   Case name, number, and district of other suspected affected cases under BRG’s review for
                 a possible breach or cybersecurity incident.
             •   Please explain whether BRG sent the “Incident Update” to every creditor in each case, or
                 whether it only filed a single notice on the docket in each case.
             •   Please explain why BRG delayed two months between discovery and notice to the USTP
                 and filing the “Incident Update” on the respective affected case dockets. BRG has
                 admitted that it learned of the breach by March 2, and the USTP has now learned that there
                 were some news reports as of March 6 about the breach.
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   •   Please explain what federal law enforcement agency(ies) BRG contacted after discovering
       the data breach, the method and timing of the notification, the name(s) of law enforcement
       contact(s), and the judicial district(s) where the report was made.
   •   Please explain whether BRG, and not the respective estates, will cover the costs of the
       breach investigation and ransom payment and whether BRG will file sworn declarations on
       these issues.
   •   Please explain whether BRG has an indemnification provision in its engagement
       agreements, and, if so, whether BRG waives all claims to indemnification from the estates
       for this breach.
   •   Please explain whether BRG has any insurance that covers cybersecurity incidents and data
       breaches.
   •   Please explain what further remedies BRG will offer affected creditors or other parties.
       BRG admits that it is relying on the assurances of extortionists that the exfiltrated data was
       destroyed, yet BRG does not now know exactly what data was exfiltrated and what exactly
       it should be monitoring on the “dark web.”
   •   Given GRB’s liability for any damages caused by these breaches, please explain why BRG
       does not now have a conflict of interest with its constituents in each of the affected cases
       that should result in BRG’s disqualification and disgorgement or reduction of
       compensation as unreasonable given its admittedly compromised performance as financial
       advisor.
   •   Given the confidentiality orders entered in many of these cases, please explain why BRG
       should not be liable for sanctions for violating them.
        When you respond, please copy each relevant United States Trustee and Assistant United
States Trustee on each affected case. (Mailing addresses are listed here:
https://www.justice.gov/ust/us-trustee-regions-and-offices). If you would like to meet and discuss
next steps and remedies after you respond, we would welcome the opportunity to do so. Thank
you for your anticipated cooperation on this highly sensitive and very important matter.

                                             Sincerely yours,
                                                                Digitally signed by Nan

                                              Nan R. Eitel      R. Eitel
                                                                Date: 2025.05.06
                                                                18:48:32 -04'00'
                                             Nan Roberts Eitel
                                             Associate General Counsel
                                             for Chapter 11 Practice
                                             Nan.R.Eitel@usdoj.gov
ccs:
Ramona D. Elliott, Acting Director and Deputy Director/General Counsel
Lisa A. Tracy, Deputy General Counsel
Sandra T. Rasnak, Assistant Director for Criminal Enforcement
David W. Asbach, Acting United States Trustee Region 5
Tiffany Carroll, Acting United States Trustee Region 15
Matthew W. Cheney, Acting United States Trustee Region 4
Tracy Hope Davis, United States Trustee Region 17
William J. Harrington, United States Trustee Regions 1 and 2
Committee Lead Counsel
Debtor Lead Counsel
Court Dockets
